






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00596-CV






Laura Annie Cathey and Paul C. Cathey, Appellants


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT

NO. 217,860-B, HONORABLE RICK MORRIS, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N


PER CURIAM

		Appellants Laura Annie Cathey and Paul C. Cathey assert that they received notice
of the signed judgment more than twenty but less than ninety days after the judgment was signed. 
They assert that their request for findings of fact and conclusions of law was denied as untimely
based on the date that the judgment was signed rather than the date on which they received notice
that the judgment had been signed.  They contend that findings of fact and conclusions of law are
necessary to the presentation of the appeal and this Court's review of it.

		We abate this appeal and remand to the trial court to determine when appellants
received notice of the signing of the judgment.  See Tex. R. Civ. P. 306a.  If the trial court
determines that appellants first had notice of the signing of the judgment at a time that renders
their&nbsp;request for findings of fact and conclusions of law timely, the trial court shall make findings
of fact and conclusions of law.  The trial court shall cause a supplemental clerk's record containing
its determination of the date appellants first had notice that the court signed the judgment, together
with any findings of fact and conclusions of law made.  If either party wishes to challenge the
determination regarding the date of notice, that party may request that a reporter's record of the
hearing, if any, be prepared and filed with this Court.



Before Chief Justice Jones, Justices Pemberton and Waldrop

Abated

Filed:   January 28, 2010


